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                                                                      FILED
                                                               U.S. DISTRICT COURT
                                                                  SAVANNAH. DV.
              UNITED STATES DISTRICT COURT
                                                               2012AUGl5 AM If : 02
             SOUTHERN DISTRICT OF GEORGIA
                                                             CLERPL
                                                                 SO. 01ST, OF GA,
                        STATE SBORO DIVISION



LAWRENCE HUGH             )
McCULLOUGH, JR.,           )
                          )
    Movant,                )
                           )
V.                         )             Case No. CV611-125
                           )                       CRGO9-048
UNITED STATES OF AMERICA, )
                           )
    Respondent.            )

                                 ORDER
     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.
     SO ORDERED this___             of                ,2012.



                                 B. AVANT EDENFTL1) J
                                 UNITEDSTATES $ISTIUCT JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
